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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA

VS                                     NO. 4:04CR00117-03 GH

WILLIE DONSON
                                            ORDER

       Defendant appeared with counsel on March 24, 2006 to show cause why his supervised
release should not be revoked. After argument of counsel and statement of defendant, the court
continues the revocation hearing until May 24, 2006 at 1:00 p.m.
       All conditions of defendant’s supervised release remain in effect.
       IT IS SO ORDERED this 27th day of March, 2006.


                                                    _______________________________________
                                                     UNITED STATES DISTRICT JUDGE
